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 2   Nevada State Bar No. 11479
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 3   Assistant Federal Public Defender
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 5   (702) 388-6261/Fax
     Keisha_Matthews@fd.org
 6
     Attorney for Montrel Levester Montgomery
 7
 8                                 UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                                Case No. 2:21-mj-00687-EJY
11
                      Plaintiff,                              STIPULATION TO CONTINUE
12                                                            PRELIMINARY HEARING
               v.
                                                              (Second Request)
13
     MONTREL LEVESTER MONTGOMERY,
14   DANIELLE PARTINGTON

15                    Defendants.

16
17             IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Peter S. Levitt, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and Keisha
20   K. Matthews, Assistant Federal Public Defender, counsel for Montrel Levester Montgomery,
21   and Michael J. Miceli, Esq. counsel for defendant Danielle Partington that the Preliminary
22   Hearing currently scheduled on March 9, 2022, be vacated and continued to a date and time
23   convenient to the Court, but no sooner than sixty (60) days.
24             This Stipulation is entered into for the following reasons:
25             1.     Parties have entered negotiations and need the additional time to resolve this
26   matter.
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 1          2.        Mr. Montgomery and Ms. Partington are not incarcerated and do not object to
 2   a continuance.
 3          3.        Additionally, denial of this request for continuance could result in a
 4   miscarriage of justice.
 5          This is the second request for continuance filed herein.
 6          DATED this 7th day of March, 2022.
 7
 8    RENE L. VALLADARES                                CHRISTOPHER CHIOU
      Federal Public Defender                           Acting United States Attorney
 9
10       /s/ Keisha K. Matthews                            /s/ Peter S. Levitt
      By_____________________________                   By_____________________________
11    KEISHA K. MATTHEWS                                PETER S. LEVITT
      Assistant Federal Public Defender                 Assistant United States Attorney
12
13
         /s/ Michael J. Miceli
14    By_____________________________
15    MICHAEL J. MICELI, ESQ.
      Counsel for Danielle Partington
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 1                              UNITED STATES DISTRICT COURT
 2                                    DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                            Case No. 2:21-mj-00687-EJY
 4
                   Plaintiff,                             ORDER
 5
            v.
 6
     MONTREL LEVESTER MONTGOMERY,
 7   DANIELLE PARTINGTON
 8                 Defendants.
 9
10          Based on the Stipulation of counsel and good cause appearing,
11   IT IS THEREFORE ORDERED that the Preliminary Hearing currently scheduled on March
12   9, 2022 at the hour of 4:00 p.m., be vacated and continued to May 9, 2022 at the hour of
13   4:00 p.m. in a courtroom to be determined.
14          DATED this 7th day of March, 2022.
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                                                  UNITED STATES MAGISTRATE JUDGE
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